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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF NEW YORK


In re:                                                                         § Case No. 00-10-11549
         LUCIO CELLI                                                           §
                                                                               §
                        Debtor(s)                                              §

         CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

Jeffrey L. Sapir, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

         1) The case was filed on 03/24/2010.

         2) The plan was confirmed on NA.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on NA.

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
06/22/2010.

         5) The case was dismissed on 07/08/2010.

         6) Number of months from filing or conversion to last payment: 4.

         7) Number of months case was pending: 8.

         8) Total value of assets abandoned by court order:              NA.

         9) Total value of assets exempted:         $3,300.00.

         10) Amount of unsecured claims discharged without full payment:               $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor     $      800.00
      Less amount refunded to debtor               $      800.00
NET RECEIPTS:                                                                 $          0.00



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                       $       0.00
       Court Costs                                                 $       0.00
       Trustee Expenses & Compensation                             $       0.00
       Other                                                       $       0.00

TOTAL EXPENSES OF ADMINISTRATION:                                      $          0.00

Attorney fees paid and disclosed by debtor:        $        NA




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Summary of Disbursements to Creditors:

                                         Claim            Principal          Interest
                                         Allowed          Paid               Paid
Secured Payments:
      Mortgage Ongoing                   $         0.00   $           0.00   $          0.00
      Mortgage Arrearage                 $         0.00   $           0.00   $          0.00
      Debt Secured by Vehicle            $         0.00   $           0.00   $          0.00
      All Other Secured                  $         0.00   $           0.00   $          0.00
TOTAL SECURED:                           $         0.00   $           0.00   $          0.00

Priority Unsecured Payments:
       Domestic Support Arrearage        $         0.00   $           0.00   $          0.00
       Domestic Support Ongoing          $         0.00   $           0.00   $          0.00
       All Other Priority                $         0.00   $           0.00   $          0.00
TOTAL PRIORITY:                          $         0.00   $           0.00   $          0.00

GENERAL UNSECURED PAYMENTS: $                      0.00 $             0.00 $            0.00




Disbursements:

      Expenses of Administration         $          0.00
      Disbursements to Creditors         $          0.00

TOTAL DISBURSEMENTS:                                                         $           0.00




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate
has been fully administered, the foregoing summary is true and complete, and all administrative matters
for which the trustee is responsible have been completed. The trustee requests a final decree be entered
that discharges the trustee and grants such other relief as may be just and proper.




Date: 11/18/2010                     By: /s/Jeffrey L. Sapir
                                       Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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